Case 3:21-cv-00586-CHB-RSE            Document 17         Filed 11/22/21      Page 1 of 1 PageID #: 82




                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                     LOUISVILLE DIVISION

    ERIC JARRARD,                                     )
                                                      )
              Plaintiff,                              )   Civil Action No. 3:21-CV-586-CHB
                                                      )
    v.                                                )
                                                      )     ORDER OF DISMISSAL OF
    TRANS UNION, LLC, et al.,                         ) DEFENDANT LVNV FUNDING, LLC,
                                                      )       WITHOUT PREJUDICE
              Defendants.                             )

                                            ***    ***    ***   ***
         The Court having been advised by Defendant LVNV Funding, LLC (“LVNV”), that

  settlement has been reached as to Plaintiff Eric Jarrard’s (“Plaintiff”) claims against LVNV [R. 16],

         IT IS HEREBY ORDERED as follows:

         1.        Plaintiff’s claims in this action against LVNV are DISMISSED WITHOUT

  PREJUDICE.

         2.        Plaintiff and LVNV SHALL tender a stipulation of dismissal, signed by all parties

  who have appeared and dismissing Plaintiff’s claims against LVNV, with prejudice, within forty-

  five (45) days from the date of entry of this Order. If the settlement is not consummated and the

  stipulation of dismissal is not filed within forty-five (45) days from the date of entry of this Order,

  the Court will entertain a motion to return LVNV as a pending Defendant in this action upon

  application to this Court.


         This the 22nd day of November, 2021.




  cc:    Counsel of Record


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